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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

** CIVIL ACTION NO. 10-md-2179
IN RE: OIL SPILL BY THE OIL RIG * This Document Applies To:
“DEEPWATER HORIZON” IN THE

GULF OF MEXICO, ON APRIL 20, 2010 * Fred Matherne v. Lawson Environmental
Service, LLC

* Case NO. 11-ev-2513

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ORDER

Considering the foregoing Exparte/Consent Motion for Voluntary Dismissal Without
Prejudice:

IT IS HEREBY ORDERED, that Plaintiff's Exparte/Consent Motion for Voluntary
Dismissal Without Prejudice to dismiss his claims under 42 U.S.C. § 1981 is GRANTED.

New Orleans, Louisiana, this day of , 2012.

District Judge
